          Case 1:17-cv-02575-KBJ Document 53 Filed 05/31/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BRIAN HAWKINS,                        )
                                      )
                      Plaintiff,      )
       v.                             )                   No. 1:17-cv-2575-KBJ
                                      )
ROBERT WILKIE, Secretary of           )
Veterans Affairs, and                 )
                                      )
DEPARTMENT OF VETERANS AFFAIRS, )
                                      )
                      Defendants.     )
_____________________________________ )


                                    JOINT STATUS REPORT

       On May 14, 2019, Defendants filed a consent motion to stay summary judgment briefing

in this case – in which Plaintiff primarily challenges his removal from the VA – based on the

rescission of Plaintiff’s removal. In a May 16, 2019 Minute Order, the Court granted the motion

and instructed the parties “to file a joint status report indicating how they wish to proceed in this

matter, and whether further litigation will be necessary.”

        The parties agree that summary judgment briefing should remain stayed. While Plaintiff

will be returning to work in the coming days, the parties are working out the specifics of

Plaintiffs’ back pay and resolving other ministerial matters related to his reinstatement. The

parties think it is premature, at this stage, to address whether further litigation will be necessary.

Accordingly, they recommend that the Court set a deadline for filing a joint status report on July

2, 2019 regarding “how they wish to proceed in this matter.”
       Case 1:17-cv-02575-KBJ Document 53 Filed 05/31/19 Page 2 of 2




Date: May 31, 2019                  Respectfully submitted,

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